 

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NESSEE,

 

CHATTANOOGA DIVISION / [
Steven Rubenstein (Rubenstein), ) ET
PLAINTIFF WL 25 ny
“8stem oie S- Distr
1. University of Tennessee (UT)— At ict oF Fa Court

C,

a. Matthew Scoggins, General Counsel,

b. Katrice Morgan, AU,

c. Wayne Davis, Interim Chancellor, UTK,

d. Linda Martin, VP, Academic Affairs, _)

e. Mark Whorton, ED, UTSI; )

2. Academy Cowards (Cowards)— )

Steve Salky and Co-Conspirators; )
)
)
)

Civil Action No.1:16-cv-475
Judge Mattice
Magistrate Judge Lee

)
)
)
Named Officials, Official Capacity Only: )
)
)
)

3. Defendants 1 and 2 in Collusion;
4. American Academy of Actuaries (Academy);
5. Society of Actuaries (Society),
DEFENDANTS )
DECLARATION UNDER PENALTY OF PERJURY, PURSUANT TO 28 U.S.C. § 1746

 

 

 

 

Plaintiff Steven Rubenstein declares under penalty of perjury that his
assertions in this Reply to Defendant the Academy Cowards’ Opposition
[Doc 48] to his Motion for Relief from Dismissal of Civil Action 1:16-CV-
475 [Doc 46] are true and correct to the best of his knowledge.

Executed on

| — fly 22, 2017

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Il. THE CONDITIONS UNDER WHICH THE COWARDS
PERPETRATE THEIR ACTIONS AGAINST RUBENSTEIN

Even if nothing else, the Cowards knew well that Rubenstein is a
nervous sort. Besides Mr. Wildsmith, and to a lesser degree Ms. Uccello,
having known him for years, after the Cowards had removed him from
all volunteer work without process, had had him arrested and falsely
prosecuted (twice), and he had responded by telling them that he would
forget all that if they would restore the normalcy, when the ABCD
proceeded with their false prosecution of him anyway, Howard Phillips,
the “investigator” (some of whose blatant lies are laid bare on First
Amended Complaint (“Complaint” throughout this) page 53 [Doc 9, p.
53]), in January 2014, demanded documentation from Rubenstein’s
psychiatrist (recorded on Doc 9-7, p. 77, Rubenstein’s correspondence

with and concerning the ABCD).

But that notwithstanding, the only reason that the Cowards have felt
free to commit these crimes against Rubenstein, as only cowards would,
is that, given his hassles with the University of Tennessee (“UT”)—
regarding which, they also knew him well enough not to suspect to be
what UT made of it—they knew that their having banished him as well
had rendered him a USSG §3A1.1. (b)(1) Vulnerable Victim. This is

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what makes AUSA Perry Piper’s willingness to prosecute Rubenstein
while refusing even to consider that the ones doing the reporting were
the criminals, violating 18 U.S.C. § 1001 at least, especially atrocious.
(Rubenstein’s Motion for Relief from Dismissal mentions his 25 May
2103 letter to AUSA Piper stating that “I am a citizen and the one in
need of help!” [Doc. 46, pp. 8-9, from Doc. 9-6, p. 78] AUSA Piper’s (14

June 2013) response included

.... |am not concerned with your civil lawsuit matters involving the [Academy] or
any other organization. | prosecute individuals who break the law. | am
attempting to prosecute you....

[Doc 9-6, p. 79]/—completely missing that Salky’s sole reason for falsely
reporting was to preempt Rubenstein’s lawsuit for barring him from
volunteer work without process, which therefore eventually became
this. Especially considering what then-Attorney General Robert
Jackson said to be “the most dangerous power of the prosecutor’—“that
he will pick people that he thinks he should get, rather than pick cases
that need to be prosecuted” [address to the 1940 (Second Annual)
Conference of U.S. Attorneys]|—how are the people to feel safe among
such imprecise selection? Rubenstein finds nothing in the Justice
Manual, 9-27 Principles of Federal Prosecution condoning this.)

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Ill. THE COWARDS’ SEEMING CURRENT STRATEGY AGAINST
WHICH RUBENSTEIN WRITES THIS REPLY

Rubenstein’s motive in (as he said in his Motion for Relief from
Dismissal [Doc. 46, pp. 9 and 21)) filing Civil Action No. 3:18-cv-170 in
the U.S. District Court for the Eastern District of Arkansas against the
Cowards’ senseless libel [Doc. 46-3], with the intent to move for Fed. R.
Civ. P. 1404(a) transfer to this Court, was diligence. And he provides
plenty of notice, having telegraphed in his Complaint in this action that

he would take such action if needed, with

Motion and Memorandum in Support for Leave to Withdraw This Cause of
Action with Appendix Y [“The Collected Libel, by the ACs,” Doc. 9-8, pp. 1-16] to
File Instead in the United States District Court for the Northern District of
Alabama on or before September 10, 2017.
under V.C. Cause 4 - Defamation (Libel)..., on page 108 [Doc. 9, p. 108].
The Cowards had noted this on page one of their Brief in Support of
Their Motion to Dismiss [Doc. 20, p. 1] (although misrepresenting the
circumstances as always). Rubenstein had further telegraphed, in his
No. 3:18-cv-170 (his case in the Eastern District of Arkansas) Complaint
[Doce 1], that his Motion for Relief from Dismissal [Doc 46] as well as his

new action (No. 1:19-cv-189) were forthcoming:

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While Rubenstein works feverishly on a plain view Fed. R. Civ. P. 60(d)(3) motion
to clear up what resulted [from counsel for the Cowards lying every which way
she knew to defraud the Court in 1:16-cv-00475], no doubt, in... part from
[Rubenstein’s] naivete in legal writing -- though also to submit a new complaint,
the statute of limitations still current on the underlying contract violation of the
illegal expulsion...”

It simply takes Rubenstein a little longer than some. (Rubenstein
explained this, too, in an email he included in his Opposition to the

Motions to Dismiss this action [Doc. 31, p. 7):

... given (1) that there are two sets of [Defendants] (UT and the Academy
Cowards), (2) that | have had to teach myself everything about law..., and (3)
that |!am slow and methodical to begin....

(emphasis in original). The Cowards noted this also, on page one of
their Reply in Support of their Motion to Dismiss [Doc. 40, p. 1],
although misrepresenting it, of course.)

The strategy of counsels’ for the Academy and for the Society in No.
3:18-cv-170 (in the Eastern District of Arkansas) and counsel for the
Cowards in this—who certainly can be imputed to have one another’s
knowledge on these matters—therefore seems to be to urge for rulings
faster than Rubenstein can maneuver. While they would have been
expected not to delay in beginning No. 3:18-cv-00170’s discovery, as

they did. But for starters, besides the Cowards having entwined

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themselves in the UT matter, and notwithstanding the Federal Rules of
Civil Procedures Title V. Disclosure and Discovery (Rules 26 — 37)
having 11,654 words (74,708 including the Committee Notes), with
Rubenstein having included every detai/in this actions’ Complaint
[Does. 9 and 9-1 — 9-8] years ago, now that he has some pleading
experience, his best bet seemed to be laying the essentials out linearly.
This he finally achieved, but not until completing “The Defendants
Have Been Obstructing Remedy Since 2012,” which he first placed at

the end of his Motion for Relief from Dismissal [Doc. 46, pp. 24-34].

Then, as Rubenstein assembled his Reply [Doc 49] to UT’s
Opposition [Doc 47], and this Reply to the Cowards’ Opposition [Doc

48], to his Motion for Relief from Dismissal:

o First, Salky’s and Duval’s partner Dermot Lynch (who appeared in
this with Doc. 12) “overnighted” a letter to Rubenstein on 17 Jul 2018,

which, after dubiously imploring that

[t]he filing of this complaint is barred by Judge Mattice's prior order,... denying
your prior complaint containing the same alleged claims and denying you the
right to amend that complaint. | respectfully request that you withdraw this
complaint immediately.

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expresses that he “wishes to meet and confer with [Rubenstein] by telephone.”
Rubenstein, who, with a 01 Jul 2019 mailing, has already tried to
initiate communication with another partner of theirs who is an
acquaintance of Rubenstein’s, answers here that he will be happy to

confer once he begins to catch up.

o On that same day (17 Jul 2017)—although with Fed. R. Civ. P. 6(d)
crediting Rubenstein for three days—counsel for the Academy in No.
3:18-cv-170 filed a motion for summary judgment. Although adding the
assertion that “Plaintiff failed to participate in discovery” (as if past tense) to
many of the worn-out lies and false insinuations made in this since
Salky began his false reporting, nevertheless, calling for much work
(which one could take to be its main intent).

o Then, of course, responses to No. 1:19-cv-189 are impending as well.

IV. REPLY TO THE COWARDS’ OPPOSITION PROPER [DOC. 48] TO
RUBENSTEIN MOTION FOR RELIEF FROM DISMISSAL [DOC. 46]

As for the Duval’s concern over Rubenstein’s having named the
Academy proper and the Society proper as Defendants for his Motion
for Relief from Dismissal, he believes that he overthought it. While

whether they are named could have technical ramifications, with the

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precise same parties being notified either way, if Rubenstein had it to

do over again, he would not have named them on this Motion.

But other than that, certainly this Court has had more experience,
and is wiser, than Rubenstein in the task of discerning credibility. In
any event, he can assert no other truth about Duval’s continued
responses but that her every single word continues to have no aim other
than to throw the Court as far from the truth as possible. (And she is
too intelligent to understand Rubenstein as having other than praise for
Albert Einstein.) Rubenstein has laid out the bare facts in “The
Defendants Have Been Obstructing Remedy Since 2012” at the end of
his Motion that Duval here addresses, which, further, points to the
documents from which it is drawn. While Rubenstein’s colleagues
shrouding themselves in mystery in pulling these stunts on Rubenstein
does leave a certain amount to inference of precisely who is doing what,
the general scheme is undeniable. While Rubenstein, of course, cannot
speak for the Court, Duval being allowed to treat her fellow human
being with such disregard, at least casts a dark shadow over the
credibility of the entire legal profession—in fact, evincing a total

disrespect for the law!

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As for Duval’s continued lies regarding Rubenstein and UT, the
Academy and the Society officials had a fiduciary duty to know
something about which they acted, and they know Rubenstein well

enough to know that what Duval says is not the truth.

As for Duval—like Lynch, above—claiming that Rubenstein’s new
filings are out of order, as Rubenstein began his analysis, on page 14

[Doc. 46, p. 14]:

Considering that “it no longer is true that a judgment ‘on the merits’ is
necessarily a judgment entitled to claim-preclusive effect,” Semtek Int'l Inc. v.
Lockheed Martin Corp., 531 U.S. 497, 501 (2001), the motions to dismiss were
not examined but need examining.

Time has not run on the Cowards’ breach of contract in their illegal
expulsions (and certain other offenses). Rubenstein is honest and
cannot believe other than that the Court wants to do right. While he
himself is only what he is, any honorable person would know that it
does not pay to condone interactions steeped in such ill motives as this.
The Academy, further, is written into the U.S. Code, the Code of
Federal Regulations, and the statutes or regulations of every state. The
National Association of Insurance Commissioners (NAIC)—for one—

depends on their expertise and good behavior. It is unfortunate that

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their being left unregulated has created such a burden, but that

responsibility must be shorn up by someone.

As for Duval’s assertion that Rubenstein’s motion is untimely, by
case law, at least since Hazel-Atlas v. Hartford, 322 U.S. 238 (1944),
only “reasonable time” matters for such egregious fraud on the court
(which this is, being committed by a lawyer). Further, Rubenstein cites
United States v. Sierra Pacific Industries, Inc., 862 F. 3d 1157, 1172
(CA9 2017) (Jon. P. McCalla, U.S. District Judge for W.D. Tenn., sitting
by designation), cert. denied, _ _ U.S. ____ (No. 17-1153) (U.S. 21 Jun

2018), which held that

[c]ontrary to the District Court's assertion that "the whole can be no greater
than the sum of its parts," a long trail of small misrepresentations—none of
which constitutes fraud on the court in isolation—could theoretically paint a
picture of intentional, material deception when viewed together.
Rubenstein admits that it is an insult to him even to have address
Duval’s pretending to believe that he here attempts to amend in the

sense of Fed. R. Civ. P. 15.

V. CONCLUSION

Contrary to Duval’s lying that Rubenstein by this tries to “harass”

anyone, this is about his being allowed to make a showing regarding his

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profession—everything he has. He maintains that there are those,

although who have gone along with this charade—such as his cohorts
Tom Wildsmith and Cori Uccello—who, unlike Duval, nevertheless, if
put to the test, would not allow for a second for this to go farthere. All

Rubenstein asks is for some chance to make that showing.

Respectfully submitted on

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Date

 

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